       Case 2:16-cv-05150-SJF-SIL Document 47-1 Filed 11/09/17 Page 1 of 2 PageID #: 193


AD 88B (Rev. OV14) Subpoena to Produce Documents. Infonnation. or Objects or to Permit Inspection of Premises in a Civil Action


                                                UNITED STATES DISTRICT COURT
                                                                                          for the
                                                                      EaStern District of New York                          IfiI
                            Christopher Defeo,
                                                                                              )
                                      Plaintiff                                               )
                                          V                                                   )         Civil Action No. 16-5150 (SJF) (SIL)
                                Guy Leibstein,
                                                                                              )
                                                                                              )
                                    Defendant                                                 )

                             SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                               OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION
                                               Suffolk County Police Department
 To:

                                                                  (Name ofperson to wham this subpoena is directed)

    ~ Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electrllnically,-Stored infonnation or ohiects and.to Dermit inspection.. cOD.lling testim>:, Dr samolin;[ of the
     . ~pem led-:;utr61K '-'OUnlY t-'olfce uepaHmenr recoras, IncluOing Internal ATTain; I:Iureau recoras, relating 10
matenaiChristopher Defeo's September 22,2015, arrest by Suffolk County Police and the related prosecution. Please
       see attached rider for additional information relating to the subpoenaed records.

  Place: LaW (jmce OT Kyan Lazar
         305 Broadway, Suite 1001
         New York, NY 10007

     o Inspection ofPremises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it,

 IPlace:                                                                                               IDate and Time:

       The following provisions of Fed. R. Civ. P. 45 are attached - Rule 45(c), relating to the place of compliance;
Rule 4S(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this sub oena and the potential consequences of not doing so.

D ate:     ~:f--LI'----=-'~
                                           CLERK OF COURT
                                                                                                              OR
                                                    Signatttre of Clerk or Deputy Clerk


  The name, address, e-mail address, and telephone number of the attorney representing (name ofpatty) Christopher Defeo
                                                                                                                                                 , who issues or requests this subpoena, are:
-:-L-a-w-'Off=j-ce-of;cR""y-a-n-'L-o-z-a-r,-::3C:0C:
                                                  S-=B:"""ro-a-d:"""w-a-y-,:::S-'ul::-16-1:-:0::0:-:1-,::N-ew----;cY.,-o-,rk-,,-::N:::Y:-:-:l0=007, ryanlozar@gmail.com,(310)867-1562

                                Notice to the person who issues or requests this subpoena
 If this subpoena commands the production of documents, electronically stored information, or tangible things or the
 inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
 it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).              '
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Civil Action No. 16-5150 SJF-SIL, Defeo v. Leibstein

                                    · SUMMONS RIDER

This rider to the attached Rule 45 subpoena, issued pursuant to the Federal Rules of Civil
Procedure ("FRCP',), provides additional detail regarding the requested records.

In connection with Christopher Defeo's September 22,2015, arrest, the County of Suffolk Police
Department's Internal Affairs ("IA") division performed an investigation under (on information
and belief, Internal Affairs case number 15-836i). Although the attached FRCP 45 subpoena seeks
any and all certified records created in connection with Mr. Defeo's September 22,2015, arrest
and prosecution, this rider clarifies that Mr. Defeo also seeks the IA records.

The records that are the subject of this FRCP 45 subpoena were previously the subject of an
Unsealing Order ordered by the Suffolk County District Court relating to this action. Enclosed
herewith please find a true and accurate copy of a fully executed Stipulated Order to Unseal
Records Pursuant to CPL § 160.50 and § 160.55 in reference to this matter.

Please note that in lieu of appearance to produce the records, this subpoena may be satisfied by
forwarding the certified copies of records to the Law Office of Ryan Lozar, 305 Broadway, Suite
1001, New York, NY 10007. Any and all questions regarding the same may be directed to Ryan
Lozar, Esq., of that office at (310) 867-1562 or ryanlozar@gmail.com.

Below is identifYing information about Christopher Defeo, the September 22, 2015, arrest and
ensuing prosecution that may aid in the location of records.

Name:                        Christopher Defeo
DOB:                         July 31,1980
Social Security No.:         XXX-XX-XXXX
NYSID:                       0974483M
Arrest No,                   026230-15
Criminal Complaint No,:      XX-XXXXXXX
Dist. Ct. Docket No.:        2015 SU 038628
Criminal charge:             New York State Penal Law Section 155.25
Internal Affairs Case No.:   15-836i (on information and belief)
